     Case 2:07-cr-00132-PMP-RJJ            Document 101         Filed 10/19/10      Page 1 of 5




 1    DANIEL G. BOGDEN
      United States Attorney
 2    ADAM M. FLAKE
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 4    Las Vegas, Nevada 89101
      (702) 388-6336
 5

 6                      UNITED STATES DISTRICT COURT
 7                           DISTRICT OF NEVADA
 8                                   -oOo-
 9    UNITED STATES OF AMERICA,                      ) No. 2:07-cr-132-PMP-RJJ
                                                     )
10                           Plaintiff,              )
                                                     )
11            vs.                                    ) GOVERNMENT’S MOTION
                                                     ) FOR ORDER WAIVING
12    KATHY NELSON,                                  ) ATTORNEY CLIENT PRIVILEGE
                                                     ) TO ADDRESS ALLEGATIONS IN
13                           Defendant.              ) NELSON’S 28 U.S.C. § 2255 MOTION,
                                                     ) ORDERING NELSON’S FORMER
14                                                     COUNSEL TO PROVIDE INFORMATION,
                                                       AND RESETTING GOVERNMENT’S
15                                                     DEADLINE TO RESPOND TO MOTION

16

17            COMES NOW, the United States of America by and through its attorneys, DANIEL G.

18    BOGDEN, United States Attorney, and ADAM FLAKE, Assistant United States Attorney, and

19    respectfully requests this court enter an order of waiver of the attorney-client privilege in this case,

20    ordering Nelson’s former counsel Karen Winkler to provide the Government with the information

21    requested in this motion, and staying the Government’s deadline to respond to Defendant’s 28 U.S.C.

22    § 2255 motion until 30 days after Winkler provides the requested information.

23            This order is sought for the following reasons:

24            1. Defendant has filed a 28 U.S.C. § 2255 motion to vacate, set aside or correct sentence by

25    a person in federal custody, alleging ineffective assistance of counsel.

26    . . .
     Case
      Case2:07-cr-00132-PMP-RJJ
            2:07-cr-00132-PMP-RJJ Document
                                   Document101  Filed09/15/10
                                            97 Filed  10/19/10 Page
                                                                 Page 2 of
                                                                    2 of 5 5




 1            2. Information from Defendant’s former counsel, Karen C. Winkler, is necessary in order to

 2    respond to Defendant’s allegations.

 3            3. The Government requests this Court’s order that the attorney-client privilege is waived as

 4    to all contentions raised in Defendant’s 18 U.S.C. § 2255 Motion, that all material and information

 5    related thereto be divulged to the Government, and that attorney Karen C. Winkler, provide an

 6    affidavit containing the same forthwith.

 7            4. The voluntary disclosure by a defendant of privileged attorney communications “constitutes

 8    waiver of the privilege as to all other such communications on the same subject.” Weil v.

 9    Investment/Indicators, Research & Management, 647 F.2d 18, 24 (9th Cir. 1981). See also, United

10    States v. Zolin, 809 F.2d 1411, 1415-16 (9th Cir. 1987); Clady v. County of Los Angeles, 770 F.2d,

11    1421, 1433 (9th Cir. 1985).

12            Even when a party does not explicitly disclose the content of an attorney-client
              communication, he may waive the privilege implicitly. A person cannot always claim
13            that he relied on counsel, while protecting what was said between them from
              disclosure. As we have said: “The privilege which protects attorney-client
14            communications may not be used both as a sword and a shield. Where a party raises
              a claim which in fairness requires disclosure of the protected communication, the
15            privilege may be implicitly waived.” (Citations omitted.)

16    United States v. Ortland, 109 F.3d 539, 543 (9th Cir. 1997).

17            WHEREFORE, based on the foregoing, it is respectfully requested that this Court enter an

18    order that the attorney-client privilege in this case as to Defendant Kathy Nelson is waived with

19    respect to the issues put at issue in her 28 U.S.C. § 2255 motion, that Karen Winkler provides the

20    Government with all materials and information related to the issues in Defendant’s 28 U.S.C. § 2255

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      Case2:07-cr-00132-PMP-RJJ
            2:07-cr-00132-PMP-RJJ Document
                                   Document101  Filed09/15/10
                                            97 Filed  10/19/10 Page
                                                                 Page 3 of
                                                                    3 of 5 5




 1    motion, and that the Government’s deadline to respond to Defendant’s motion be reset to a date 30

 2    days after Winkler provides the Government with the requested information.

 3           DATED this 15th day of September, 2010.

 4                                                Respectfully submitted,

 5                                                DANIEL G. BOGDEN
                                                  United States Attorney
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 7
                                                    /s/ Adam M. Flake
 8                                                ADAM FLAKE
                                                  Assistant United States Attorney
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     Case 2:07-cr-00132-PMP-RJJ           Document 101        Filed 10/19/10      Page 4 of 5




 1                      UNITED STATES DISTRICT COURT
 2                           DISTRICT OF NEVADA
 3                                   -oOo-
 4    UNITED STATES OF AMERICA,            )
                                           ) No. 2:07-cr-132-PMP-RJJ
 5                      Plaintiff,         )
                                           )
 6          vs.                            )
                                           ) ORDER WAIVING ATTORNEY
 7                                         ) CLIENT PRIVILEGE TO ADDRESS
      KATHY NELSON,                        ) ALLEGATIONS IN NELSON’S
 8                      Defendant.         ) 28 U.S.C. § 2255 MOTION, ORDERING
                                           ) NELSON’S FORMER COUNSEL
 9                                         ) TO PROVIDE INFORMATION,
                                           ) AND STAYING GOVERNMENT’S
10    ____________________________________ ) DEADLINE TO RESPOND TO MOTION

11           Based on the pending application of the Government, and good cause appearing,

12           IT IS THEREFORE ORDERED that the attorney-client privilege in case No. 2:07-cr-132-

13    PMP-RJJ is waived with respect to the allegations in Defendant’s 28 U.S.C. § 2255 motion, and that

14    attorney Karen C. Winkler, shall forthwith provide the Government with an affidavit containing all

15    materials and information relating to matters put at issue in Defendant’s 28 U.S.C. § 2255 motion, and

16    that the Government’s deadline for responding to Defendant’s 28 U.S.C. § 2255 motion is stayed until

17    30 days from the date Winkler provides the requested information.

18           DATED this _____  dayofof October, 2010. , 2010.
                          19thday
19

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                                                      UNITED STATES DISTRICT JUDGE
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     Case
      Case2:07-cr-00132-PMP-RJJ
            2:07-cr-00132-PMP-RJJ Document
                                   Document101  Filed09/15/10
                                            97 Filed  10/19/10 Page
                                                                 Page 5 of
                                                                    5 of 5 5




 1                                      CERTIFICATE OF SERVICE

 2           I hereby certify that on September 15, 2010, I electronically filed the foregoing

 3    GOVERNMENT’S MOTION FOR ORDER WAIVING ATTORNEY CLIENT PRIVILEGE

 4    TO ADDRESS ALLEGATIONS IN NELSON’S 28 U.S.C. § 2255 MOTION, ORDERING

 5    NELSON’S FORMER COUNSEL TO PROVIDE INFORMATION, AND RESETTING

 6    GOVERNMENT’S DEADLINE TO RESPOND TO MOTION with the Clerk of the Court for the

 7    United States Court of Appeals for the Ninth Circuit by using the appellate CM/ECF system.

 8           Participants in the case who are registered CM/ECF users will be served by the appellate

 9    CM/ECF system. I further certify that some of the participants in the case are not registered CM/ECF

10    users. I have mailed the foregoing document by First-Class Mail, postage prepaid, to the following:

11    Robert W. Story
      STORY LAW GROUP
12    245 E. Liberty St., Suite 530
      Reno, NV 89501
13

14    Kathy Nelson
      355109
15    2322 N. Las Vegas Boulevard
      Suite 200
16    North Las Vegas, NV 89030

17    Karen C. Winkler
      300 S. Fourth Street, Ste. 701
18    Las Vegas, NV 89101

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20                                                    /s/ Terrie Murray
                                                    TERRIE MURRAY
21                                                  Legal Assistant

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